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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
Z.A., an Infant, by and through his Parents and Natural
Guardians, CARMIT ARCHIBALD and GEORGES                                Case No.: 1:24-cv-03742-VSB
ARCHIBALD, and CARMIT ARCHIBALD,
Individually,
                                                                       REQUEST FOR CLERK’S
                                            Plaintiff(s),              CERTIFICATE OF DEFAULT

-against-

HYATT CORPORATION,

                                             Defendant(s).
-------------------------------------------------------------------X

    TO:          CLERK OF COURT
                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK

    Pursuant to Fed. R. Civ. P. 55(a) and Local Rule 55.1, Plaintiffs herein request a Clerk’s

certificate of entry of default against defendant, HYATT CORPORATION. Within in an

accompanying affirmation, I affirm that the party against whom the judgment is sought:

        (1) is not an infant or incompetent person;

        (2) is not in the military service;

        (3) Defendant Hyatt Corporation was properly served pursuant to Fed. R. Civ. P. 4, and

             N.Y. Bus. Corp. Law § 306, on April 15, 2024, with proof of service filed in the New

             York State Supreme Court, County of New York, on April 17, 2024, and proof of

             service attached as an exhibit to the accompanying affirmation of Plaintiffs’ attorney;

        (4) Defendant Hyatt Corporation filed its Notice of Removal to the United States District

             Court for the Southern District of New York on the basis on diversity of jurisdiction

             on May 15, 2024. See ECF No. 1.




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       (5) Defendant filed proof of service of Plaintiffs’ Summons and Verified Complaint as an

           exhibit to its Notice of Removal. See ECF No. 1, 1-1 at 3.

       (6) Counsel for the Plaintiff filed a notice of appearance in this court on May 17, 2024.

           See ECF No. 4.

       (7) Counsel for the Defendant filed a notice of appearance in this court on May 20, 2024.

           See ECF No. 5.

       (8) Defendant has defaulted in the above-captioned action by failing to answer, move, or

           otherwise defend the action within the time required by the rules, and said time has

           not been extended.

       WHEREFORE, Plaintiffs respectfully request that the default of defendant Hyatt

Corporation be noted, and a Certificate of Default issued.


Dated: New York, NY
       June 20, 2024
                                                     Respectfully submitted,


                                                     By:     /s/ Evan M. Goldberg
                                                     Evan M. Goldberg, Esq.
                                                     EVAN MILES GOLDBERG, PLLC
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                                                     Attorneys for Plaintiffs Z.A. et al.




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                                 CERTIFICATE OF SERVICE

I hereby certify that on June 20, 2024, I electronically filed the foregoing with the Clerk of the
United States District Court for the Southern District of New York using the CM/ECF system,
which sent notification of such filing to the following attorney(s) appearing on behalf of the
defendant Hyatt Corporation:

       Amneet Mand, Esq.
       Lewis Brisbois Bisgaard & Smith LLP
       77 Water Street, Suite 2100
       New York, NY 10005
       Amneet.mand@lewisbrisbois.com


                                                       /s/ Evan M. Goldberg
                                                      Evan M. Goldberg




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